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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                              CASE NO. 1:14-cr-00101-AWI-BAM-4
12                                Plaintiff,
                                                            STIPULATION AND ORDER
13                 v.                                       REGARDING CONTINUANCE AND
                                                            EXCLUDABLE TIME PERIODS
14   NATALIE MIDDLETON,                                     UNDER SPEEDY TRIAL ACT
15                                Defendant.
16                                             STIPULATION
17          Plaintiff United States of America, by and through its counsel of record, and defendant, by
18 and through her counsel of record, hereby stipulate as follows:

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            1.      By previous order, this matter was set for a hearing on her motion for July 20, 2015,
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     at 10:00 a.m. The government’s response was due on June 26. However, the government failed to
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     calendar the matter and file a timely response due, in part, to unforeseen circumstances in another
22

23 matter set for trial June 30. The government also seeks additional time to consider the impact of

24 new Supreme Court authority, McFadden v. United States, 2015 WL 2473377 (June 18, 2015).

25          2.      By this stipulation, the parties agree to continue the hearing date until August 3, 2015,
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     at 10:00 a.m. and to exclude time between July 20, 2015, and August 3, 2015. The parties also agree
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     that the government may file its response on or before July 9 and the defendant may file her reply on
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     or before July 23.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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 3          a.      A continuance is required to accommodate the work schedule of counsel for the

 4 government, as well as the impact of McFadden. The defense is not opposed to a continuance.

 5          b.      Based on the above-stated findings, the ends of justice served by continuing the case
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     as requested outweigh the interest of the public and the defendant in a trial within the original date
 7
     prescribed by the Speedy Trial Act.
 8
            c.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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10 seq., within which trial must commence, the time period of July 20, 2015, to August 3, 2015,

11 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(B)(ii) , (7)(A), and B(iv) because

12 the case has been deemed complex, it would deny the government the continuity of counsel, and it

13 results from a continuance granted by the Court at the parties’ request on the basis of the Court's

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     finding that the ends of justice served by taking such action outweigh the best interest of the public
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     and the defendant in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
17

18 the Speedy Trial Act dictate that additional time periods are excludable from the period

19 within which a trial must commence.
20 IT IS SO STIPULATED.

21
     DATED:         June 29, 2015.          Respectfully submitted,
22
                                            BENJAMIN B. WAGNER
23                                          United States Attorney
24
                                            /s/ Karen A. Escobar___________________
25                                          KAREN A. ESCOBAR
                                            Assistant United States Attorney
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     DATED:      June 29, 2015.
 1
                                  /s/ Andras Farkas
 2                                ANDRAS FARKAS
                                  JANET BATEMAN
 3                                Counsel for Defendant Middleton
 4
                                        ORDER
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     IT IS SO ORDERED.
 7
     Dated: June 29, 2015
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                                       SENIOR DISTRICT JUDGE
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